          Case 1:21-cv-11884-IT Document 118 Filed 04/27/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 MICHAEL OKOSI,                                 *
                                                *
        Plaintiff,                              *
                                                *
                v.                              *      Civil Action No. 1:21-cv-11884-IT
                                                *
 SCOTT ROBY,                                    *
                                                *
        Defendant.                              *

                                         JUDGMENT


TALWANI, D.J.

       Plaintiff Michael Okosi brought this action against Defendant Scott Roby. Pursuant to the

Jury Verdict [Doc. No. 102], judgment is entered in favor of Okosi on Count 1 (§ 1983 Unlawful

Seizure), Count 4 (False Arrest), Count 5 (Malicious Prosecution), and Count 7 (False

Imprisonment), and in favor of Roby on Count 2 (§ 1983 Excessive Force), Count 3 (Battery)

and Count 6 (Abuse of Process).

       IT IS SO ORDERED.

       April 27, 2023                               /s/ Indira Talwani
                                                    United States District Judge
